                      Case 1:21-mj-00346-TMD Document 1 Filed 02/10/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                   ____ FILED ___ ENTERED
                                                               for the                                              ____ LOGGED _____ RECEIVED
                                                      DistrictDistrict
                                                 __________    of Maryland
                                                                       of __________                                11:57 am, Feb 10 2021
                                                                                                                    AT BALTIMORE
                  United States of America                        )                                                 CLERK, U.S. DISTRICT COURT
                             v.                                   )                                                 DISTRICT OF MARYLAND

                 OLAKITAN OLUWALADE
                                                                  )      Case No. 1:21-mj-346 TMD                   BY ______________Deputy
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               11/16/2020 - 1/15/2021          in the county of              Baltimore                    in the
                       District of           Maryland         , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 1349                               Wire Fraud




         This criminal complaint is based on these facts:
See affidavit.




         ✔ Continued on the attached sheet.
         u
                                                                                                         Digitally signed by DENNIS P SENFT JR
                                                                          DENNIS P SENFT JR              Date: 2021.02.08 14:09:47 -05'00'

                                                                                             Complainant’s signature

                                                                                     Special Agent Dennis Senft, HSI
                                                                                              Printed name and title

6ZRUQWREHIRUHPHRYHUWKHWHOHSKRQHDQGVLJQHGE\PHSXUVXDQWWR)HG5&ULP3DQG G 


Date:
                                                                                                Judge’s signature

City and state:                          Baltimore, MD                     Hon. Thomas M. DiGirolamo, U.S. Magistrate Judge
                                                                                              Printed name and title
